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Andrew Adler

From:           COOK SANDRA (05034051)

Sent Date:      Thursday, September 14, 2023 10:51 AM

To:             andrew_adler@fd.org

Subject:        Ms. Kaye


I am writing in support of releasing Ms. Kaye. I lived in the same unit as Ms. Kaye until yesterday when they
moved her into the hospital unit. Ms. Kaye, as well as many others at Carswell, do not get the treatment they
need. Kayle Johnson just wrote an article for the Star-Telegram Newspaper detailing Gwen Riders suicide last
month. Gwen was sent here for medical treatment, epilepsy, and she was deemed a faker. Unable to get the
medical and psychology treatment she needed, she ended her life due to the abuse she suffered at Carswell. The
newspaper article details it all. I knew Ms. Rider. I knew the suffering she endured and I know Ms. Kaye. They
believe she is faking it and if it wasn't for the inmates last week when Ms. Kaye had a seizure, she would not be
alive today. The ratio of inmates to medical staff makes it impossible for even the best doctors to take care of the
needs of the inmates. I have seen many women die unnecessary. Woman walk around with hernia's the size of
melons poking out of there stomachs. Women go blind. One woman, deemed a faker lost most of her tongue to
cancer for failure for the BOP to act. Besides that, rehabilitation is needed for those who go to prison. Prison in
and of itself is NOT REHABILITATIVE. Carswell is riddled with neglect. If you try to stand up for yourself,
retaliation is swift and brutal. Death row inmates are in the building behind us. Because this is the only female
medical facility minimum security inmates are housed with the most heinous of crimes because the satellite camp
is partially closed due to crumpling infrastructure. The list of problems within Carswell are many. Dietary needs
are not met, dental is not addressed. I have been on routine dental care since 2017 and have not seen the
dentist for my needs. I hope this sheds some light on the real conditions at Carswell. Ms. Kaye should not be
here with her seizures happening so often. There just isn't enough staff to attend to her. She is afraid she is going
to die here. That isn't too far fetched.




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Andrew Adler

From:           MARNEY AMANDA NICOLE (56544177)

Sent Date:      Thursday, September 14, 2023 8:50 AM

To:             andrew_adler@fd.org

Subject:        Statement


To whom it may concern;
  This is a factual statement of what I observed in regards to the matter of Suzanne Kaye. The evening of
September 3rd, I was in the atrium when my other roommate hurriedly got my attention, Ms.. Suzanne Kaye was
beginning to seize in her bed. My roommate and I got her on the floor where we observed that she wasn't
breathing. My roommate began mouth to mouth resuscitation while I tilted her head back, as the guards that
were standing by were either unwilling or unable to. The guards did attempt to do chest compressions on her.
The lieutenants arrived and dragged an unconscious and not breathing Ms. Kaye out into the atrium by one arm.
They were ordering us away from her, and my roommate was quickly tiring of breathing for her. Another inmate
came and took over the resuscitations, and we refused to leave Ms.. Kaye out of fear for her life. At that time
medical finally arrived and placed her on a stretcher out for the hospital.
 I feel justice would be better served if Ms. Kaye were allowed home confinement, nearer to her own medical
care doctors. I worried for her safety if left in FMC Carswell.




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